 

 

Case 2:15-cv-03879-JMA-ARL Document 50-2 Filed 11/14/19 Page 1 of 15 PagelD #: 118

EXHIBIT “A”

 
 

 

 

 

UNITED STATES DISTRICT COUR.
_EASTERN DISTRICT OF NEW YORK

 

EDWARD REICHERTER,

 

TOWN-OF HEMPSTEAD,

 

 

Plaintiff EDWARD REICHERTER, by and through his attomeys, The Law
Office of Steven A. Morelli, P.C., respectfully alleges, upon knowledge as to himself and

 

 

1. Plaintiff Edward: Reichorter has: -worked for Defendant Town of Hi

 

“Town") for almost thirty years, Over the course of his tenure with the Town, Mr.
Reicherter proved himself a dedicated, loyal, and capable employee, as he went
above and beyond numerous times during his service to the Town. Over the
course of Plaintiff's tenure with the Town, Mr. Reicherter was an active and
outspoken member of his. union, and candidly shared his political views and
affiliations, The Town uséd Mr. Reicherter's views against him and subjected
Plaintiff to a patter of harassment and retaliation: predicated upon his Union
activities and political affillations. |

2. This action is brought under the First Amendment of the United States
Constitution pursuant to 42 U.S.C. § 1983, and also contains any other cause of
 

 

 

 

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3.

. Plaintiff BDWARD REICHERTER ("Reic

action which can reasonably be inferred from the facts set forth herein, to redress

 

2d by the laws of the United States and
the United States Constitution.

 

This Court has original jurisdiction over Plaintiffs’ federal law claims pursuant to

Venue is proper pursuant to 28 U.S.C. § 1391.

  
 

Nassau County, New York. At all times relevant to this complaint, Plaintiff was

 

an “employee” of Defetdas {Town of He apstend.

 

D — | TOWN OF HEMPSTEAD (hereinafter the “Town” at all relevant
times, was and still is a municipal corporation duly formed pursua

 

the State of New York, with its principal place of business at One Washington

 

Street, Hempstead, New York 11550. At all times relevant to this complaint,

 

 

ste") is a resident and domiciliary of

nt to the laws of

 
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ov ies, a i a gery f be Town of Hop wih

 

ead, New York 11550.

8. Plaintiff has spent almost thirty years working for the Town as a park supervisor
with the Department of Parks and Recreation. Plaintiff has also served as

 

 

 

 

ment call sheets. Plaintiff wns Inter told to “forget

   

sed visor III test. Plaintiff continue
ceanside Park and still. went on. fire cal
position of 1" Assisuns Chet

, During this time Plaintiff held th

     

 

LL. In 2010, Plaintiff was Chief of the ERFD and was transferred to Newbrige Road

 
 

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eric and three setellite parks. Plaintiff did not go on Fire Calls while holding this

position. Newbrige Road Park is located outside of the responding district.

12. In or around July 2010, Mayor Ed Sieban passed away. Following Mayor

Sieban’s passing, things changed for the Plaintiff politically.

 

13, As the Chief of the ERFD Plaintiff felt it was a conflict of interest to campaign for
either of the two: parties nnning for the Mayor election. Furthermore, as a
resident of Bay Park, which is ran by the Town, Plaintiff was not even eligible to

 

14. Plaintiff told Councilman. Anthony;

   

} Santino that he wanted to remain neutral
because he would need to work with whichever panty won the election,

 

 

y soraished off of the Republican club committee

15. Further, Plaintiff discovered that at a Republican Club meeting, he was eliminated

 

from the list which effectively severed his membership with the East Rockaway
Republican Club.

16. Ultimately, Fran Latinhan, the Republican Cub candidate, won the election and a

 

new village hall administration was— hired. Soon after this change in

 
 

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Chief's office. Plaintiff, in particular, was personally attacked...

17. Specifically, in or ground 2011, Plaintiff was re-elected as third assistant, chief of
the ERFD. At such time Plaintiff was inexplicably transferred to Shell Creek

Island Park.as a backup Supervisor to John Zappola. Defendant provided no

 

‘explanation as to why Plaintiff wes transferred. At Shell Creek, Plaintiff was put
‘in charge ofa satellite: beach Harbor Isle.

 

18. Meanwhile, Plaintiff's back up supervisor at the Newbrige Road location, arian

 

Dazzo, became the new Park Supervisor. This was especially curious, as Dazzo-

 

 

position. Despite Dexzo’s inferior employment history, Defendant appointed him

 

 

‘at its Newbrige Road location.

 

"gies ex ali npn epervi Sn Bele

 

20, bn 2012, Plaintiff was. still assigned to Shell Creek. In or around October 2012,

 
 

Hurricane Sandy hit Long Island, As « result, Harbor Isle suffered catastrophic

and the grounds, Plaintiff's own ‘home was also

 

 
 

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21, At such time, Plaintiff took: emergency leave from his duties with Defe ndant,

y, Plaintiff did not work from: approximately November 2012 to the

 

beginning of January 2013.

22, Throughout November, Tom Smith made several calls to town hall regarding
‘Plaintiff's use of the ERFD Chief Truck.

23. In January 2013 Plaintiff was reelected to the position of Chief of the ERFD.

 

24.00n January 7, 2013, Plaintiff rotarocd 10 work. To

 

"Hlurricane Sandy's wake, Plaintiff organized the total tear down and demolition of

 

 

 

nds needed to be cleared so crews from tech services could be sent over
to help repair the damage.

 

26, During such ie, Pain eomtaued wo respond vo cals sporty theo

pond to calls he would

 

 

Plaintiff about his whereabouts for the three months after Sandy. Plaintiff

 

 
 

 

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explained his situation and thet he had to take an emergency jeave, which

“included Plaintiff's vacation time:

28. After leaving the Union Office, Plaintiff contacted Anthony Satitino to see if he
‘knew about the meeting and why he was being questioned regarding his
‘emergency leave. Santina told Plaintiff that he would look into the matter but

29. Plaintiff has a difference of opinion with Ex-Chief Chris Shelton who worked

 

31. In of around May 2013, Plaintiff was ealled back in for questioning, § pecil cally,

 

Plaintiff was summoned to Enright’s office and was accompanied by Union

 

gato. During. this ineeting, Plaintiff was again
4 m and March.

questioned about his w

 

   

 
 

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32, Plaintiff explained that he had dane nothing wrong and was responding to fire
calls as he had in the post. Plaintiff further explained that the Town. was still
devastated from Sandy and that the Fire Departmen
indicated that when he left the Park for fire calls he always notified his supervisor,

 

was undermanned. He also

‘Zappola, and was never before told not to respond or leave his post.

 

33. Following this meeting, the tension between the Fire Department adminis ration

 

equally degrading in nature.

44. On or about August 26, 2013, Plaintiff was asked to go to the Town Hall to pick
up his pay checks, whis

 

 

 
 
 

 

35. Upon his artival, Plaintiff’ waa brought into Deputy Commissioner Mike

Zappolo’s. office, Union represemative Joanne Delgato, Union Representative

 

 

rvisor Bob Ward and Secretary Amy Rosen were
also in attendance:

 

36, At such time, Defendant unceremoniously terminated Plaintiff's emplayment.

 

 

 
 

 

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‘pefuued to do. Mr. Reicherter further asked for Union Representation.
office. Thereafter, Alyssa Bom was assigned to Plaintiffs case.

 

 

 

   
 
      
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43. Upon his retum, Plaintiff was placed at Town Hall as an office secretary.

Defendant knew that Plaintiff is a Park Supervisor III and did not have the

 

required skills to be an office secret

 

retary. Indeed, Plaintiff has limited. computer
‘phones and records Fire Departme

 

nt Softball scores.

 

4d, Upon information and belief, Defendant purposefully set Plaintiff up to fail in

 

‘indeed, when the Plain

 

 

san yi fii ik

 

announced that Mr. Reicherter would have to start over with only 4 hours sick and”

4 hours Vacation time.

47. Plaintiff holds numerous certifications and a CDL-A License, He has worked
outside and with his hands for the Town for the last thirty years, However, when
positions outside the Towa Hall office become evilabl, his applications were

inexplicably passed over.

 

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48. For example, Mr. Reicherter has signed up for the special district Park Supervisor

nis, and the Town readily took

 

 

49. Thereafter, the Town: deaied Mr. Reicherter's application to take the test. As

justification for this rejection, Defendant told Mr. Reicherter that he did not have

 

 

12 consecutive morithe es a Supervisor IT and was therefore not qualified.

50. Any excuse that Plaintiff did not have the required 12 month time as.a Supervisor

 

 

Ill is clearly pretext. Indeed, Plaintiff has been a Supervisor IJ] for six years and

wes reinstated to his position which made him eligible to take the exam, ‘Thus,

 

Defendant's denial of his test application is just another example of Defendant's

 
  

52. By reason of the foregoing, the Defendant has unlawful
Plaintift and deprived him of his rights as guaranteed by the Consttation of the
tec States, by depriving him of his liberty and property interests due to his

 

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constitutionally protected activities in speaking out on issues of public concern in
the course of his activities in the union pursuant to the First Amendment -

 

  

ion, in violation of 42 U.S.C. § 1983.

53. By reason of the foregoing,’ the Defendant has unlawfully retaliated against the
Plaintiff and deprived him of his rights guaranteed by the Constitution of the
United States, by depriving him of his liberty and property interests due to his

nally protected netivities in free assembly as pert of « labor union,
pursuant to the First Amendment to the United States C.
42 US.C. § 1983,

 

 

, tion, in violation of

 

Plaintiff's rigl . Sach aeis

 

ifference may be inferred in the following

 

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b. Inadequate training/supervision was likely to result in such violations that
-policymakers.can reasonably. be said to have been deliberately indifferent
to the need to provide better training and supervision; and

   

WHEREFORE, the Pisiniff demands judgment against Defendant for all

 

 

bolo, ice | damages, injunctive relief, and any ‘other
fan Sen eee acta amount

 

to be determined by a jury. itis respectfully requested that the Court grant the Plaintiff
any other relief to which the Plaintiff is entitled, including but not limited to:

 

 

Further, Plaintiff demands a ttl by jury.

    

od: Garden City, New York |
uly 2, 2015

 

ne ity, N
G16) 393-9151
F: (516) 280-7528

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VERIFICATION
State of New York }
. } sa
County of Nassau yp

EDWARD REICHERTER, being: duly swom, deposes and says that t deponent isa
Plsinu tt in the within action; that: she: has read the forgoing. Verified Complaint and knows the

   

therein ‘stated to be alleged on. information. ‘and belief, and that as to those na kere ee cond
believes ittobe true.

 

“EDWARD REICHERTER ~

Sworn to before me this
a day of July, 2015

 

 

 

 

 
